    Case 2:14-cv-01163-WKW-KFP Document 288 Filed 05/14/21 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BONNY EDWARD TAYLOR, as the              )
Personal Representative and              )
Administrator of the ESTATE OF           )
ALMUS REED TAYLOR,                       )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )     CASE NO. 2:14-CV-1163-WKW
                                         )
BILL BLUE, in his individual             )
capacity; BENJAMIN HUNTER, in            )
his individual capacity; and ROY         )
PARKER, in his individual capacity,      )
                                         )
             Defendants.                 )

                                     ORDER

      The parties have notified the court that they have reached a settlement

agreement. Accordingly, it is ORDERED that, on or before June 14, 2021, the

parties shall file a joint stipulation of dismissal in accordance with Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

      It is further ORDERED that the parties are relieved of all pending deadlines

(see, e.g., 248), that the jury selection and trial are CANCELLED, and that all

pending motions (Docs. # 271, 273, and 286) are DENIED as moot.

      DONE this 14th day of May, 2021.


                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
